Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 1 of 12




                    EXHIBIT 1
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 2 of 12


                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        02/11/2022
                                                                                                        CT Log Number 541042497
     TO:         Diane Barnes
                 CenturyLink, Inc. (Denver)
                 931 14TH ST FL 9
                 DENVER, CO 80202-2994

     RE:         Process Served in Colorado

     FOR:        CenturyLink Communications, LLC (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                                 STEVE FERGUSON vs. CENTURYLINK COMMUNICATIONS, LLC
     DOCUMENT(S) SERVED:                              --
     COURT/AGENCY:                                    None Specified
                                                      Case # 2021CV30882
     ON WHOM PROCESS WAS SERVED:                      CT Corporation System, Centennial, CO
     DATE AND HOUR OF SERVICE:                        By Process Server on 02/11/2022 at 11:56
     JURISDICTION SERVED :                            Colorado
     APPEARANCE OR ANSWER DUE:                        None Specified
     ATTORNEY(S) / SENDER(S):                         None Specified
     ACTION ITEMS:                                    CT has retained the current log, Retain Date: 02/11/2022, Expected Purge Date:
                                                      02/16/2022

                                                      Image SOP

                                                      Email Notification, Art Walker arthur.walker@centurylink.com

                                                      Email Notification, Kim Bartlett kim.bartlett@lumen.com

                                                      Email Notification, Diane Barnes diane.barnes@lumen.com

                                                      Email Notification, Karen Valdez Karen.Valdez@CenturyLink.com

                                                      Email Notification, Ann Carroll ann.carroll@centurylink.com

                                                      Email Notification, Sean Lindsay sean.lindsay@lumen.com

     REGISTERED AGENT ADDRESS:                        CT Corporation System
                                                      7700 E Arapahoe Road
                                                      Suite 220
                                                      Centennial, CO 80112
                                                      877-564-7529
                                                      MajorAccountTeam2@wolterskluwer.com
     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)




                                                                                                        Page 1 of 2 / AP
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 3 of 12


                                                                                                         Service of Process
                                                                                                         Transmittal
                                                                                                         02/11/2022
                                                                                                         CT Log Number 541042497
     TO:         Diane Barnes
                 CenturyLink, Inc. (Denver)
                 931 14TH ST FL 9
                 DENVER, CO 80202-2994

     RE:         Process Served in Colorado

     FOR:        CenturyLink Communications, LLC (Domestic State: DE)




     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 2 of 2 / AP
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   District Court, Larimer County, Colorado
   201 LaPorte Avenue
   Fort Collins, CO 80521
  (970)494-3500
                                                           DATE FILED: February 9,2022 11:50 AM
   Plaintiff: STEVE FERGUSON                               FILING ID: 87F2036B3EEE7
                                                           CASE NUMBER: 2021CV30882
   V.
   Defendant: CENTURYLINK COMMUNICATIONS,
   LLC d/b/a LUMEN TECHNOLOGIES GROUP
                                                                       COURT USE ONLY
   Erik G. Fischer, #16856
   ERIK G. FISCHER,P.C.
   125 South Howes Street, Suite 900                            Case Number: 2021CV30882
   Fort Collins, CO 80521
   Phone: (970)482-4710                        S                Division: 4B                 •
   e-mail: erik@fischerlawgroup.com

                              DISTRICT COURT CIVIL SUMMONS

   TO TH                 EFEND      TViTRYLINK COMMUNICATIONS,
       d/b/a LUMEN TECHONOLOGIES GROUP

           YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an
   answer or other response to the attached Second Amended Complaint and Jury Demand. If service
   of the Summons and Second Amended Complaint was made upon you within the State of
   Colorado, you are required to file your answer or other response within 21 days after such service
   upon you. Ifservice ofthe Summons and Second Amended Complaint was made upon you outside
   of the State of Colorado, you are required to file your answer or other response within 35 days
   after such service upon you. Your answer or counterclaim must be accompanied with the
   applicable filing fee.

           If you fail to file your answer or other response to the Amended Complaint and Jury
   Demand in writing within the applicable time period, the Court may enter judgment by default
   against you for the relief demanded in the Second Amended Complaint and Jury Demand without
   further notice.

          The following documents are also served with this Summons: Second Amended Complaint
   and Jury Demand, Civil Case Cover Sheet, and Notice Judicial Civil Case Management.

                 Dated: February 9, 2022.

                                               ERIK G.FISCHER,P.C.
                                               /s/Erik G. Fischer
                                               Erik G. Fischer, #16856 •
                                               125 South Howes — Suite 900
                                               Fort Collins, CO 80521
                                               Telephone: (970)482-4710
                                               Facsimile: (970)482-4729
                                               Email: erik@fischerlawgroup.com
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 5 of 12




    DISTRICT COURT,LARIMER COUNTY,COLORADO
    201 LAPORTE AVENUE SUITE 100
    FORT COLLINS CO 80521-2761          DATE FLED: February 9, 2022 11:50 AM
   (970)498-6100                        FILING ID: 87F2036B3EEE7
                                               I_
                                        CAqF                      NUMBER: 2021CV30882


    Plaintiffs: STEVE FERGUSON

    vs.
    Defendant: CENTURYLINK COMMUNICATIONS,
    LLC d/b/a LUMEN TECHNOLOGIES GROUP

                                                                         COURT USE ONLY

    Erik G. Fischer, #16856                                         Case No. 2021CV030882
    Erik G. Fischer, P.C.
    125 South Howes Street, Suite 900                               Courtroom: 4B
    Fort Collins, CO 80521
    Phone:(970)482-4710
    Email: erik@fischerlawgroup.com


                   SECOND AMENDED COMPLAINT AND JURY DEMAND

          COMES NOW Plaintiff, Steve Ferguson, by and through his counsel, Erik G. Fischer,

   P.C., for his Complaint, state as follows:


                                                PARTIES

          1.      Plaintiff Steve Ferguson is an individual residing at 4905 US Hwy 36, Estes Park,

   CO 80517

          2.      Defendant CenturyLink Communications, LLC d/b/a Lumen Technologies Group

   is a Delaware corporation authorized to do business in the State of Colorado.


                                   JURISDICTION AND VENUE

          3.      The Court has jurisdiction over the Defendants pursuant to C.R.S. § 13-1-124.
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 6 of 12




          4.      Pursuant to C.R.C.P. 98, venue is appropriate in the District Court of the County

   of Larimer, State of Colorado, because the Plaintiff is a resident of Colorado and the contract

   between the parties was to be performed in the county of Larimer, State of Colorado.


                                    GENERAL ALLEGATIONS

          5.      Plaintiff lives remotely in Estes Park, Colorado.

          6.      In order to better serve his business, Plaintiff solicited a quote from Defendant to

   install and provide highspeed interne to his home.

          7.      In order to provide a quote, Defendant sent out an engineer to do a site prep on

   Plaintiff's property.

          8.      After the site prep, Defendant quoted Plaintiff $28,320.00 in order to install 1/2

   gig interne services with 5 static IP addresses and then $1,570.00 a month for continued

   highspeed services to Plaintiff's address.

          9.      On December 20, 2020 Plaintiff entered into a contract with Defendant for the

   installation and services for 1/2 Gig intemet services with 5 static IP addresses to be installed on

   April 16, 2021.

           10.    Upon signing the contract, on December 20, 2020, Plaintiff immediately wired

   Defendant $28,320.00 in order to begin performance under the contract.

           1 1.   After signing the contract and receiving Plaintiff's payment of $28,320.00,

   Defendants emailed Plaintiff that they were changing the terms of the contract and that the cost

   to install the 1/2 gig internet services with 5 static 113 addresses would now cost Plaintiff

  $1,043,700.00.


       12. To date, Defendant has not performed at all under the contract.




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                      FIRST CLAIM FOR RELIEF: BREACH OF CONTRACT

             13.    The preceding paragraphs are incorporated by reference as if fully set forth

   herein.

             14.    Plaintiffs entered into a valid contract with Defendant which required Defendant

   to install 1/2 Gig internet services with 5 static IP addresses at the Plaintiffs residence for

   $28,320.00.

             15.    Upon signing the contract with Defendant, Plaintiff wired Defendant $28,320.00.

             16.    Defendant has failed to install 1/2 Gig interne services with 5 static IP addresses

   at Plaintiffs residence.

             17.    Plaintiff has completely performed in accordance with the terms of the contract

   with Defendant.

             18.    Defendant's breach of the contract caused damages to Plaintiffs in an amount to

   be proven at trial.


                                         PRAYER FOR RELIEF

             WHEREFORE,Plaintiff respectfully requests:

             1. Judgment in an amount to be determined at trial;

             2. Specific Performance by the Defendant under the contract;

             3. Judgment for Plaintiffs costs pursuant to Rule and Statute;

             4. All other relief which Plaintiff may be entitled.




                                                      3
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           Dated this 8th day of February, 2022.

                                               Respectfully submitted,

                                               ERIK G.FISCHER,P.C.

                                               /s/Erik G. Fischer
                                               Erik G. Fischer, #16856
                                               ERIK G. FISCHER,P.C.
                                               125 South Howes Street, Suite 900
                                               Fort Collins, CO 80521
                                               Phone:(970)482-4710
                                               Email: erik@fischerlawgroup.com

                                               Original signature on file at the office of Erik G.
                                               Fischer, P.C., pursuant to C.R.CP. § 121-1-26(9);filed and
                                               served electronically via ICCES.



   Plaintiffs' Address:
   4905 US Hwy 36
   Estes Park, CO 80517




                                                   4
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     DISTRICT COURT,COUNTY OF LARIMER,STATE OF
     COLORADO
     201 LaPorte Avenue
     Fort Collins, CO 80521              DATE F ED: December 3, 2021 4:19 PM
                                         FILING : 8FB13BF09D390
    (970)494-3500                        CASF NI IMBER: 2021CV30882

     Plaintiff: STEVE FERGUSON

     V.


     Defendant: LUMEN TECHNOLOGY,INC.
                                                                         •COURT USE ONLY A
     Erik G. Fischer, #16856
                                                                       Case No.:
     ERIK G. FISCHER,P.C.
     125 South Howes Street, Suite 900
     Fort Collins, CO 80521
                                                                       Courtroom:
     Phone: (970)482-4710
     e-mail: erik@fischerlawgroup.com



       DISTRICT COURT CIVIL(CV)CASE COVER SHEET FOR INITIAL PLEADING
          OF COMPLAINT,COUNTERCLAIM,CROSS-CLAIM OR THIRD PARTY
                                COMPLAINT



   1. This cover sheet shall be filed with each pleading containing an initial claim for relief in every
      district court civil(CV) case, and shall be served on all parties along with the pleading. It
      shall not be filed in Domestic Relations (DR), Probate (PR), Water(CW), Juvenile (JA, JR,
      JD, JV), or Mental Health(MH)cases. Failure to file this cover sheet is not a jurisdictional
      defect in the pleading but may result in a clerk's show cause order requiring its filing.

  2. Check one of the following:
          OThis case is governed by C.R.C.P. 16.1 because:

                0 The case is not a class action, domestic relations case, juvenile case, mental
                  health case, probate case, water law case, forcible entry and detainer, C.R.C.P.
                  106, C.R.C.P. 120, or other similar expedited proceeding; AND

                0 A monetary judgment over $100,000 is not sought by any party against any
                  other single party. This amount includes attorney fees, penalties, and punitive
                  damages; it excludes interest and costs, as well as the value ofany equitable relief
                  sought.
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 10 of 12




       EIThis case is not governed by C.R.C.P. 16.1 because(check ALL boxes that apply):

              O The case is a class action, domestic relations case,juvenile case, mental health
                case, probate case, water law case, forcible entry and detainer, C.R.C.P. 106,
                C.R.C.P. 120, or other similar expedited proceeding.

              El A monetary judgment over $100,000 is sought by any party against any other
                 single party. This amount includes attorney fees, penalties, and punitive
                 damages; it excludes interest and costs, as well as the value of any equitable
                 relief sought.

              O Another party has previously indicated in a Case Cover Sheet that the simplified
                procedure under C.R.C.P. 16.1 does not apply to the case.

      NOTE:In any case to which C.R.C.P. 16.1 does not apply, the parties may elect to use the
      simplified procedure by separatelyfiling a Stipulation to be governed by the rule within
      49 days of the at-issue date. See C.R.C.P. 16.1(e). In any case to which C.R.C.P. 16.1
      applies, the parties may opt out ofthe rule by separatelyfiling a Notice to Elect Exclusion
      (JDF 602) within 35 days of'the at-issue date. See C.R.C.P.16.1(d).

      0 A Stipulation or Notice with respect to C.R.C.P. 16.1 has been separately filed with the
        Court, indicating:
           • C.R.C.P. 16.1 applies to this case.

              O C.R.C.P. 16.1 does not apply to this case.

   3. El This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P.
         38. (Checking this box is optional.)

          Dated this 3rd day of December, 2021.

                                              Respectfully submitted,

                                              ERIK G.FISCHER,P.C.
                                              /s/Erik G. Fischer
                                              Erik G. Fischer, #16856
                                              125 South Howes — Suite 900
                                              Fort Collins, CO 80521
                                              Telephone: (970)482-4710
                                              Facsimile: (970)482-4729
                                              Email: erik@fischerlawgroup.com




                                                  2
Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 11 of 12




   District Court, Larimer County, Colorado
   201 LaPorte Avenue, Suite 100
   Ft Collins, CO 80521-2761
                                                       DATE FILED: December 6, 2021 8:36 AM
                                                       CASE NUMBER: 2021CV30882

   Plaintiff(s): STEVE FERGUSON

   V.
                                                                  4   COURT USE ONLY     4
   Defendant(s): LUMEN TECHNOLOGY, INC.                      Case Number: 21CV30882

                                                             Courtroom: 4B

                     NOTICE JUDICIAL CIVIL CASE MANAGEMENT

         All civil cases are subject to judicial screening and case management. This case
  is assigned to Judge DANIEL MCDONALD-4B. Trial will not be set until the Court
  determines that a trial setting is appropriate. Within 30-40 days of filing, your case will
  be reviewed and appropriate orders sent to counsel and pro se parties

         It is imperative that all returns of service be filed promptly with the Court, so that
  the Court, when reviewing the case, can accurately assess its status.

          Plaintiff's counsel shall provide a copy of this notice to all counsel (or pro se
  parties) who enter appearances.

         The Civil Case Cover Sheet(JDF 601) required pursuant to C.R.C.P. 16.1 was
 to be included with your initial pleading. If it was not included, it must be filed within
 14 days from the date of this notice.

         Dated December 6, 2021.


                                                               )
                                                             1D
                                                   Chief Judge Susan Blanco


 Copies sent to:       ATP      via JPOD




  Revised 12/20/19
      Case No. 1:22-cv-00536-WJM-SBP Document 5 filed 03/04/22 USDC Colorado pg 12 of 12
2/8/22,4:40 PM                                                                    Colorado Secretary of State - Summary
                                                                                                                                                                     Espanol
                                                                                                                                    L   About Secretary Griswold I


                        Colorado
                        Secretary of State
                        Jena Griswold


 For this Record...
 Filing history and
 documents
 Trade names
 Get a certificate of good
                                                                              Summary
 standing
 File a form
 Subscribe to email
 notification
 Unsubscribe from email      Details
 notification
                                                          Name CenturyLink Communications, LLC
 Business Home                                           Status Good Standing                Formation date    11/19/1991
 Business Information
 Business Search                                     ID number       19911093562                       Form Foreign Limited Liability Company
                                          Periodic report month November                        Jurisdiction Delaware
 FAQs, Glossary and
 Information
                                Principal office street address 100 Centurylink Drive, Monroe, LA        71203, LA, United States
                              Principal office mailing address 100 CENTURYLINK DRIVE, Attn: Reba Culbertson, MONROE, LA                  71203,
                                                               United States


                             Registered Agent
                                                          Name C T Corporation System
                                                Street address      7700 E Arapahoe Rd Ste 220, Centennial, CO 80112-1268, United States
                                               Mailing address n/a


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                                 Trade names

                                 Get a certificate of good standing

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                                 Set up secure business filing

                                 Subscribe to email notification

                                 Unsubscribe from email notification



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